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                                            PRE PURCHASE SURVEY REPORT
                                                         On the
                                                   Fast cruiser yacht

                                                          “LEONARDO II”

                                                            Azimut 98 Fly

  I underwrite Dario Farabegoli, Ship Surveyor enrolled to the roll of ship surveyor and experts of
  the Chamber of Commerce and to the Industry of Grosseto in role n°186, for category XXI
  "Marine, aerial and inland navigation activities" and sub categories "Nautical, Ships and floaters
  generally, Average and Breakdown, Losses and damages deriving from marine average." Enrolled
  to the roll of ship surveyor and experts of the Court of Grosseto.

                                                    BY ORDER FROM
                                             Mr. Mariano Augustin Diaz Ramirez

  I’ve executed a technical surveyor of assessment on the general state of the pleasure craft described
  at a stretch, for evaluate the pleasure boat named "LEONARDO II" to determine its current value
  sales engineer in the state of fact and of law in which it resides.

  For the purposes of this mandate, the writer declares that he carried out the inspection on the Yacht
  in question, in the yard and in the sea, in order to ascertain the condition of:

       -    Its state of preservation, its installation and its equipment;
       -    I have examined the administrative documents of Yachts

  Date 9 January 2013, survey Hull , SHIPYARD

  Date 10 January 2013 , survey Hull and System at morning

  Date 12 January 2013, sea trial
  =====================================================
  I , Mariano Augustin Diaz Ramirez confirm that I accept the conditions of use of the Boat
   AZ 98 Leonardo II , as declared in this PrePurchaser Survey Report made by the marine surveyors
  Dario Farabegoli on 13 January 2013 , also ,
  I confirm that I want to buy the boat AZ 98 Leonardo II, under the conditions described in the
  contract MOA of the day 04 January2013

                                   Caracas , Venezuela , 13/January /2013           __________________________
                                                                                          Mariano Augustin Diaz Ramirez

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  that this technical report has the following conditions and limitations of warranty:


           GENERAL CONDITIONS AND LIMITATIONS OF THE TECHNICAL SKILL

  The technical skill doesn’t preview an opinion the conditions of those leaves of the boat that are
  blankets, not exposed, inaccessible or in areas or space not currently visible, as an example behind
  linings in woven or wood, the ceilings of the cabins, under balances potfuls etc, less than these they
  aren’t quickly accessible through a cover, removing the cover or analogous.

  The technical relation cannot exclude completely the existence of defects, damns isolates or
  deteriorations present behind linings, ceilings, potfuls, paint jobs, fillings etc.

  The skill is based exclusively on one careful visual inspection, of all the accessible atmospheres,
  without operate destroyed tests, and of the available equipment.

  A complete inspection can be carried out only removing the linings in wood or woven, inner dollys,
  ceilings, tanks and the joinery. This obviously would need of time and costs prohibitory and
  normally don’t come never executed.

  The complete inspection of the motor, the generator, of pipages, electronic tanks, electrical and
  electronic systems can be made with a continuous and extended use of the same ones or through
  their taking apart, and this isn’t possible to execute in one normal skill of state.

  The relation doesn’t imply a guarantee against wrong designs of construction, hidden or latent
  defects; it represents the general conditions of the boat to the date of the skill, and it is an impartial
  opinion underwrite, but it cannot be considered a guarantee neither specific neither implicit.

  The information contained in the relation, concerning dimensions, appraisal, ability, speed etc.,
  have been extrapolated from nameplate of the constructor, odometer, documents of edge, plans and
  certify present to edge let alone from the declarations carried out from the shipowner or its legal
  representative. Although all the information contained are from thinking themselves correct, there
  aren’t way to guarantee the accuracy of these.

  The examination of the drive system, if demanded to the ship surveyor, comes carried out without
  the possibility to carry out the taking apart and therefore limited in its certainty and guarantee.
  When the ship surveyor stops itself to comment the operation of the machinery or the equipment
  during the visit of river basin or the short test in sea, these observations are from interpreting,
  considering that such tests don’t reproduce never the operating conditions of the boat.

  The relation doesn’t comprise no guarantee, regarding owner of the boat or other guarantees the
  hypothecating state, burdens or debits weighing on the boat. The relation is compiled with the
  exclusive use to inform the customer and it isn’t predisposed to being accepted or being supplied to
  third parts that can consequently read it or make an integral copy of part of its contents. The
  Copyright is of property of the Ship Surveyor.
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       1) GENERAL DETAILS

            YACHT NAME                                                      LEONARDO II
            FLAG                                                            CZECH REPUBLIC
            HARBOR OFFICE                                                   PRAHA
            HULL NUMBER                                                     020
            CLASS CERTIFICATION                                             RINA 100-A-1.1;Y
            IMO NUMBER                                                      81277
            LICENSE NUMBER                                                  CZE0250
            ISSUED                                                          PRAHA 23 APRIL 2009
            VALID                                                           22 APRIL 2014
            OWNER                                                           WEBER INVESTMENT s.r.o.




       2) TECHNICAL DETAILS

            BUILDERS                                                        AZIMUT BENETTI S.P.A.
            MODEL                                                           AZIMUT 98
            YEAR OF BUILD                                                   2004
            MATERIAL                                                        FIBERGLASS /COMPOSITES
            LOA (length overall)                                            29,83
            BEAM (breadth overall)                                          6,80
            DRAFT                                                           =
            DISPLACEMENT                                                    49 TONNS

       3) ENGINE DETAILS

            ENGINE BUILDER                                                   MTU
            ENGINE MODEL                                                     MTU16V2000M91
            ENGINE NUMBER                                                    536103207 RIGHT ENGINE
            ENGINE NUMBER                                                    536103208 LEFT ENGINE
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       4) CZECH LAW DOCUMENTATION

  4.1 Czech License
  The Captain show the Original license , all in order

  4.2 Call sign for radio station
  OL5289/LEONARDO II


  4.3 Insurance
  Yachtsure 24 certificate number YA/12/13303, valid sine 06 May 2013


  4.4 Security certificate expiration
  Certificate of class for Pleasure Yacht, RINA Company, number 81277-V005-001, issued in
  Genova 19 May 2009, valid since years 23 April 2014


  4.5 Liferaft expiration date and model
  Two Liferafts
       -    Arimar six people
            11116061, expiration date 2015
            11116065, expiration date 2015


  4.6 Pirotechnics
  Are presents
       -    4 rockets with parachute
       -    4 manual red signal
       -    2 smoke signal
  expiration date 04 - 2015
       -    2 throwing


  4.7 Medical box
  Ocean medical international Grand Bag, under pilot seat on cockpit


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  4.8 Fixed firefighting system
  System automatic with CO2 extinguishers and automatic closing for ventilation inlet in engine
  room
  Fixed extinguishers type and code:
  - 3 x 30 kg CO2 number 5962338 – 5962407 – 5981156 manufactured 2002, last inspection
  18.05.2012


  Cable release:
       -    1 x 1kg CO2 Faber – timer N° 98482081 date of manufacture 1998
       -    1 x 1kg CO2 ISER – Timer N° C69463 – manufacture 2001


  4.9 Portable fire extinguishers
  - 8 x2 kg powder ANAF – manufacture 2007
  - 1 x 2 kg CO2 SIRET – manufacture 2005
  - 5 x 5 kg CO2 SIRET – manufacture 2002
  - 1 x 9 lt FOAM ANAF – manufacture 2007
  - 2 x 6 kg powder ANAF – manufacture 2007
  - 1 x 1 kg powder ANAF – manufacture 2006
  4.9 Miscellanous
  Approved lifejackets:
       -    Vib cabin Fwd, Stbd Cupboard Jacket n° 1 and 2 type standard orange – adult
       -    Double cabin port, Port Cupboard Jacket n° 11 and 4 type standard orange – adult
       -    Twin cabin Stbd, Stbd Cupboard jacket n° 5,6 type standard orange adult and n° 8 standard
            orange child
       -    Master cabin, dressing Room Jacket n° 7 and 10 type standard orange adult
       -    Bridge, port side Cupboard Jacket n° 16 type standard orange adult and n° 17 and 18
            standard orange child; under seat n°5 x crew type blue self inflating
       -    Flybridge, under bridge Jacket n° 3 to 9 and 19 to 30 , 15 type standard orange adult and 4
            type standard orange child



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  2/2 sailors, lifebuoy with rope and float on the flybridge, complete weather station in the saloon,
  anchor ropes, two anchor type Hall and double chain 125 meters + 100 meters, three cb radio for
  intercom crew


  4.10 Epirb
  ACR Epirb RLB 32/ 2F75 Maritime Call Signal: 152000




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  4.10 Picture Document
  Czech License




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  Rina Class certification




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  Builder certification




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  Insurance certification




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  Estinguishers certification




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  Liferaft certification




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  Life jacket list




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  Epirb test




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  Jet sky Kawasaki manual code kaw41497f202n




  Tender manual




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  4.11 Picture Safety equipment
  Liferaft




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  Epirb




  Fire extinguishers main




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  Fire extinguishers 6 kg




  Rockets




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  Medical bag




  Ikaros throwings




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                                                        TECHNICAL RELATION


  A General Inspection of the Propulsion System

  The verifications are carried out, limitedly to the outer assessment of eventual obvious defects of
  operation of the system list at a stretch, specifying and advising however the verifications of the
  system aside of skilled technicians authorize from the manufacturing company of the propeller.


  Controlled by Motor Style, Via Tramontana 22 Viareggio (LU) (0039 0584 371173) autorizzated
  Service Dealer MTU,
  Generators; 2 x 32Kva Kohler, tested by Motor Style, only external situation and running test with
  power charge.
  Gearbox 2 ZF Vdrive
  Instrument check; MTU controller program by computer
  Check results;
       -    Sea trial check
       -    Historical computer


                               Engine room Static Inspection, list of component checked


  Bilge Engine                                                            Computer Historical database
  Silent block                                                            Coolant liquid
  Heat exchanger                                                          Gearbox
  Salt water pipe                                                         Injector
  Diesel pipe                                                             Discharged smokes
  Racor filter                                                            Engine vibration
  Engine belts                                                            Engine instrumenation
  Alternator charge                                                       Engine grounding
  Engine oil lake                                                         Engine alignment
  Muffler and dicharged                                                   Computer sea trial test
  Sea water filter                                                        Gearbox oil level
  Sea water pumps                                                         Engine oil level


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  A.1 Static Comments
  The engine room and the two engine is in good general condition, and the general devices and
  plants do not rust or wear, the insulation is intact and glued, the bilges are enough clean and free of
  oil, sea water seacock are good maintained and sea water filter for engine, genset, water maker, fire
  pumps, air conditions pumps must be cleanead and serviced.
  No significant loss of oil or water, to the exclusion the right silencers line
  Was also checked the oil level of the two 220 volts Kohler generators and its operation has been
  fixed during all Yacht test
  The left genset have 4165 hours
  The right genset have 4200 hours (on display)
  Is condition its good, and the right generator was completely maintenance in 2012, the new hours its
  unknown


  A.2 Sea Trial
  Test Start 12,30
  Test End       15,30
  The start test engine hour its:
  Left engine 1422,3;
  Right engine 1403.4,
  Weather condition: CALM sea and Calm wind, for during the test fresh wind from SW
  Weights: 6 people;
  790 lts water tanks;
  Empty blacks tanks;
  Diesel on board, 3146 liters at test start
  The speed values were determined with the GPS on board




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  Hull and propellers were cleaned
  In addition, the fuel filter, have not been replaced, and do not have knowledge of their last
  replacement.
  Engine test surveys recording from cockpit engine computer panel


                                                                                              Fuel                  Yachts speed in
                             Water temperature                  Engine oil
     Engine RPM                                                                          consumption for                 Knots
                                     C°                       pressure (bar)
                                                                                              hours                 (date from GPS)
                                Left          Right          Left           Right
           626                                                                                                                   0
          1161                   70             70            7,6             7,4                                                11
          1359                   71             70            7,8             7,6                 265                        12.4
          1604                   74             77            7,7             7,6                 278                            15
          1803                   75             73            7,9             7,8                 390                        17.4
          1986                   75             74            7,8             7,5                 488                        20.4
          2266                   79             79            7,6             7,3                 668                        24,5
          2312                   79             79            7,0             7,3                 754                        26,5
          2340                   79             79            7,1             7,2                 780                        27,5




  MTU REPORT recording
  Report due by Tuesday, Jan. 15




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  A.3 Observation and recommendations
  Both the data of the MTU electronic checked and sea trial test, showed no evidence of malfunction
  and / or inherited defects in both engines.


  The MTU engineers, reported verbally as follows:
  all the tests carried out during the sea trials were positive, the engines achieve the speed required by
  MTU, and there were no malfunctions. The external condition of the engines is not the best and it
  can be seen that have been played important mechanical interventions despite the few hours of
  motion of both motors.


  In particular should be noted:
       -    Replacement of all the turbines
       -    replacement of water sea pumps
       -    removal of the cylinder heads


  Relatively kohler generators, while the test was simulated full electrical load, trouble-free service to
  all systems of navigation, it should be noted that the right engine was replaced the engine block and
  the pump sea water and left the pump sea water


  The engine hours are detected are very few for an yachts built in 2005 and running in
  Mediterranean Sea for years in commercial use


  After the sea trial and the oral report of the technicians of MTU, was asked to the Chief of Yachts,
  if he was aware of recent work to both engines and only after much persuasion and anecdotal
  evidence has given us the files, the following Annexes, many works made from 2010 to 2012 on
  both engines generators, a partial explanation of the findings from the technical MTU.
  No explanation was given to us about the reasons that led to perform in a few years almost 200,000
  euro interventions
  It is advisable to also repair the right propeller and balance of both propellers and later the two main
  axes



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  We recommend that, to the new owner, however, to perform the following operations before
  moving the boat especially if it is a long trip, for a new harbor:


       -    Replace engine oil
       -    Replacement filters diesel and oil MTU
       -    Replacement filters Racor and cleaned the glass box
       -    Checked engines and exhaust cathode protection
       -    Change gearbox oil and filter
       -    Propeller repair and balancing


  For two generators we recommend:


       -    Replace engine oil
       -    Replace oil filter
       -    Replace diesel filter
       -    Checked belts
       -    Checked sea water impeller
       -    Change silent blocks left generators and wood base




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  A.4 Picture of Engine and genset
   Left Engine




  Right engine




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  Left upper engine




  Right upper engine




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  Left gearbox




  Right gearbox




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  Engine new turbocharge right




  Engine new turbocharge left




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  Engine sea water filter




  Engine daily tank and optical diesel level – generator wood base broke




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  Left genset




  Right genset with new engine block and new sea water pumps




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  Exhaust system possible lake, left engine




  Engine electronic panel




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  Engine technical MTU




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  Engine sea water pumps new




  Engine cylinder head replaced




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  Monaco MTU service invoice Engine and generator work on Leonardo II
  Files attached to the report


  B) Inspection of the internal structures, finishes and furnishings
  In inspections of structures and interior furnishings, will be verified, as far as possible, the main hull
  structure and the main bulkhead.


  It checks the status of the external situation of, water tanks, diesel and gray and black water, beyond
  what is listed below:


  Ribs and frame                                                          Blacks tanks fitteds
  Counterpunches                                                          Internal finishes
  Bulkheads                                                               Infiltrations
  Engine structures                                                       Rudder system)
  Seacocks                                                                Bilge
  Diesel tanks fitted                                                     Lokers
  Water Tanks fitted                                                      Others
  Grey tanks fitted                                                       Moquette


  B.1 Comments
  Internal structures are free of defects or deviations and are intact and free from damage or repairs.
  Structural bulkheads are properly bonded and have no cracks or defects.
  The interior furnishings are in excellent condition and finish no particular signs of wear.
  The fiberglass dollies in the bathrooms do not have cracks and are in excellent condition
  The mattresses and cushions are in good condition.
  The fittings are in good condition and working.
  In general interior of the boat is in very good condition, it only detects small defects due to the age
  of the vessel.




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  B.2 Observation and recommendations
  No special comment, we believe that in view of its age the boat is in excellent general condition, to
  perform some minor maintenance lake:
       -    wire lights not work in stairs zone
       -    owner port light lake
       -    black water tank lake
       -    Grey tank
       -    Interior Vip cabin ceiling to replace
       -    Interior Vip cabin, bilge lake from conditioner pipe
       -    Serious cleaning of black water and gray tank


  B.3 Picture of interior finish
  Layout




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  Black tanks lake




  Grey tanks




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  Frame state




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  Owner port-light lake left and right




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  Vip cabin ceiling to replace




  Bilge lake in Vip Cabin




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  Sliding doors to made maintenance




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  C) Inspection and operation of the electrical and hydraulic system
  Verification aims to verify the correct operation of facilities of the yacht.
  The verification proceeds with the trial of various electrical and plumbing systems listed below


  Water Heater                                                            Electrics toilet
  Fridge + freezer                                                        Extractor engine room
  Ice maker                                                               Battery Ventilation
  Fresh water pumps                                                       Battery Charge
  Microwave Owen                                                          Service Battery
  Dishwasher                                                              Engine Battery
  Hot plates                                                              Inverter system
  Galley extractor                                                        Elettrical pannel 220volts /24 volts
  Washing machine                                                         Generator battery
  Exiterior grill                                                         Bilge pumps
  Interior Lights                                                         Air condition
  External pumps                                                          Shower drainings
  Hydraulics system                                                       Shower pumps
  Gangway                                                                 Blaks tanks pump
  Hydraulic hangar                                                        Grey tanks Pumps
  Hydraulic hard top                                                      Hydraulic Jet sky hangar
  Plumbing system                                                         Cable master
  Anchor windlass                                                         External lights


  C.1 Comments
  With the exception of some functional problems due to lack of use, both the electrical and the
  hydraulics are in good condition. Some lights do not work in cabin corridor , you will have control
  of the light bulbs and switches.
  The service batteries are located in the engine room bilge. This placement leaves us very
  perplexing, in the event of flooding, and submersion of batteries.
  Suggest the displacement of the batteries in a higher position.



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  The electric fuel valves its in the bilge under the engine, with out manual open system, we think its
  necessary change system.
  The only one Watermaker its insufficient, suggest the installation of a second watermaker auxiliary
  or emergency by at least 100 liters.
  The system forward hangar, where it is stowed the Tender, is very complex and dangerous, you
  must be a substantial change in the system of opening and closing .
  It is recommended that a second transfer pump of the fuel mounted in parallel to the primary, for
  emergency.
   Electric Hard Top not work


  Diesel tank capacity 10500 lts, in hull fiberglass
  Water tanks capacity 1700 lts in fiberglass tanks


  Battery charge system by Cantalupi produce 24 volts in continuous, and supply the service battery ,
  after the system surge power from the battery


  Battery composition:
  Service battery in engine bilge
  Engine start battery in engine room
  Stabilizer battery in engine room
  Two generator start battery


  Air Conditioning Cruiseder
       -    1 x units Master cabin, 1 x unites VIP cabin, 1 x unit port guest cabin
       -    1 x units starboard guest cabin, 1 x units bridge
       -    2 x units saloon, 1 x unit dining room, 1 x unit galley, 1 x unit crew quarters
  Bow thruster
       -    hydraulic with joystick in wheelhouse and flybridge
  Watermaker
       -    Idromar 150 liter por hours



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  Galley equipment
       -    Stainless steel twin-sink with macerator pump
       -    Two fridge with two deep freezer
       -    Miele cooking hot plate
       -    Miele dishwasher
       -    Siemens microwave
       -    Convention owen
       -    Custom range hood
       -    12 Bootle Wine fridge
       -    Miele washing machine
       -    Miele tumle dryer – stainlees steel counter tops
       -    Fridge on saloon bar
       -    Fridge in flybridge
       -    Barbeque grill


  Electricity
       -    380volts 3 phase shore power


  Jacuzzi hydro massage




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  C.2 Picture
  Hot plates,




   Owen and microwave




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  Galley fridge seals problem




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  Galley deep freezer lake on wood




  Dishwasher




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  Flybridge grill




  Fly bridge fridge




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  Saloon fridge and wine fridge




  Jacuzzi on flybridge




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  Fresh water pumps Gianneschi e Ramaccioti 24 volts




  Bilge pumps Gianneschi e Ramacciotti 24 volts




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  Black water pumps




  Grey pumps




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  Toilets vacuum pumps




  Oil pumps transfer in engine room




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  Fuel transfer pump




  Automatic bilge pumps central boat




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  Hydraulic bow thruster




  Anchor line




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  Left Electric windlass engine




  Right electric windlass engine




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  Morning windlass anchor zone




  Chain locker to must divided




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  Gangway teak replace




  Gangway door seals




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  Hydraulic platform piston




  Hydraulic platform




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  Hydraulic pump




  Hydraulic system




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  Hydraulic stabilizer box




  Engine start battery




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  Service battery to near the bilge




  Main electric panel




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  Hydraulic hangar jet sky




  Battery charge




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  D) Superstructure, deck fittings, apertures and others
  This inspector wants to check the status of the superstructure of the bridge deck, to graphics, the
  teak deck accessories and any other relevant present and indicated in the list below


  Bow’s pulpit                                                            Platform teak
  Stern pulpit                                                            Cockpit teak
  Gangway function                                                        Antiskid state
  Lokers                                                                  Painting finiture
  Hatch                                                                   Window sealant
  Cleats                                                                  Hard top antenna
  Platform                                                                Fuel deck filler
  Hydraulic external table                                                Water deck filler


  D.1 Comments
  The general state of the deck and superstructure and its accessories is very good;
  The superstructures need polish work
  The teak decks of the two bow walkway are in good condition The platform teak need replace
  rubber in many seams.
  No outdoors cushions is on board




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  D.2 Picture
  Bow


  Left walkway
  Right walkway
  Left door
  Right door
  Platform
  External cockpit
  Teak seams to replace
  Tender
  Hangar door
  Hydraulic piston hangar door, to change system
  Hydraulic grue
  Jet sky Yamaha
  Jet sky Kawasaki




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  E) Board instrumentation, electronics, comfort
  The checks are performed only functional, while the tests are turned on all the equipment on board
  the yacht, to verify operation.
  Below is a list of devices tested
                           Instrument                                                                  Model
  VHF                                                                     RAYMARINE
  GPS Plotter                                                             RAYMARINE CHART PLOTTER
  RADAR GPS                                                               RAYMARINE
  Automatic pilote                                                        RAYMARINE
  Log                                                                     RAYMARINE
  Stereo                                                                  CABIN + SALOON+COCPIT
  TV                                                                      SALOON+ VIP C.+ OWNER C.+ GALLEY
  Engine camera                                                           YES (not work )
  Genset                                                                  2xKOHLER 32 KW
  Tender                                                                  Zodiac 4,2 waterjet Kawasaky Ultra
                                                                          150PWC
  Engine Pannel                                                           CANTALUPI, Viareggio
  Engine trottle                                                          ELECTRONIC ZF


  Water maker                                                             IDROMAR 150 LTS FOR HOURS
  Bow thruster                                                            HYDRAULIC
  Sat antenna                                                             YES
  Compass                                                                 RIVIERA WHITE STAR


  E.1 Comments
  All components operate properly;
  Were not shown the tender documents (CE) and inboard tender engine document, and the two Jet
  sky



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  The tender, the water maker, the two jet sky has not been tested for organizational and logistical
  problems, bath both are winter maintenance by Captain declaration




  E.2 Picture
  Compass
  Water maker
  Water maker hours
  Water maker filter
  Air condition group
  Air condition pumps lake
  Electric panel
  MTU engine electronic pannel (two)
  Radar
  Gps Plotter
  Autopilot (not work)
  Principal electric panel (crew cabin)
  Rudder indicator, wind station and flaps indicator

                                                   HULL SURVEY REPORT


       -    F.1 Picture


  G) Spare parts on board
  Not show spare parts
  G.1 Picture
  No photo




                                                          FINAL REPORT
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                                                           CONCLUSION
  The yacht Leonardo II, despite the presence of a professional crew the yacht lacks many of
  the routine maintenance. Luckily internally and technically is in very good condition, and
  many of the failures reported in the survey, can be easily from his new professional crew.
  The structures are in very good condition excluding the two central spray rails and the
  osmosis of the two blades of the stabilizers.
  The sea trial of engines did not show defects in operation, but has not been able to ascertain
  why have been made numerous and important work of maintenance to both motors and to the
  two generators.
  The only one Watermaker its insufficient, suggest the installation of a second watermaker
  auxiliary or emergency by at least 100 liters.
  The system forward hangar, where it is stowed the Tender, is very complex and dangerous,
  you must be a substantial change in the system of opening and closing




  However, we recommend a repair.


  We note the following defects developed:
       -    Central spray rails repaired with humidity and cracks, to be repair properly
       -    Right propeller one blade bents
       -    Anodos must replace on axis an other location
       -    Ancor connection with kenter shackle, necessity different system
       -


  Orbetello 13 January 2013
                                                            Marine Survey
                                                    Captain Dario Farabegoli




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